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 8                              UNITED STATES DISTRICT COURT
 9                             SOUTHERN DISTRICT OF CALIFORNIA
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11    ARTHUR THOMPSON, an individual,                    Case No.: 20-cv-00371-JLS-MSB
      and on behalf of others similarly situated,
12
                                       Plaintiffs,       ORDER GRANTING JOINT
13                                                       MOTION FOR LEAVE TO FILE
      v.                                                 SECOND AMENDED COMPLAINT
14
      NSC TECHNOLOGIES, LLC, et al.,
15
                                     Defendants.
16
                                                         [ECF No. 57]
17
18         Presently before the Court is a Joint Motion for Leave to File Second Amended
19   Complaint (ECF No. 57). In the joint motion, the parties request that the Court grant
20   Plaintiff leave to file a Second Amended Complaint so that Plaintiff may add a cause of
21   action for violation of the Fair Labor Standards Act, 29 U.S.C. § 201 et seq., and update
22   the operative complaint, which was filed in state court, to reflect that it is pending before
23   this Court. (Id. at 2.)
24         Federal Rule of Civil Procedure 15(a)(2) permits a party to file an amended pleading
25   at any time before trial “with the opposing party’s written consent.” Defendants here have
26   consented in writing to Plaintiff’s amending of the operative complaint, and thus, Rule
27   15(a)(2) permits Plaintiff to file the Second Amended Complaint. Accordingly, the Court
28   hereby GRANTS the parties’ joint motion (ECF No. 57). Plaintiff shall file the Second

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 1   Amended Complaint attached to the joint motion (ECF No. 57-1 at 3–31) no later than
 2   seven days following the date of this Order.
 3         IT IS SO ORDERED.
 4   Dated: October 28, 2021
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